IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JANET MONGE, :
Plaintiff : CIVIL ACTION
¥V.

UNIVERSITY OF PENNSYLVANIA ef al, :
Defendants : No, 22-2942

ORDER
And now inc, of February, 2023, upon consideration of Kinjal Dave and Jake
Nussbaum’s Motion to Dismiss Dr. Janet Monge’s Amended Complaint (Doc. No. 45), Dr.
Monge’s Response in Opposition to Ms. Dave and Mr. Nussbaum’s Motion to Dismiss (Doc. No.
77), Ms. Dave and Mr. Nussbaum’s Reply Brief in Support of Their Motion to Dismiss (Doc. No.
97), and Dr. Monge’s Supplemental Memorandum in Support of Her Response to the Defendants’
Motions to Dismiss (Doc. No. 162), it is hereby ORDERED as follows, for the reasons set forth
in the accompanying memorandum:

1. Ms. Dave and Mr. Nussbaum’s Motion to Dismiss (Doc. No. 45) is GRANTED WITH
PREJUDICE as to the defamation and false light causes of action alleged in Dr. Monge’s
amended complaint.

2. Ms. Dave and Mr. Nussbaum’s Motion to Dismiss (Doc. No. 45) is GRANTED
WITHOUT PREJUDICE as to the defamation by implication and civil aiding and

abetting causes of action alleged in Dr, Monge’s amended complaint.

BY THE COURT:

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UNITED STATES DISTRICT JUDGE

 

 

 

 
